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                                                                                    Original Article                                                                                                     Socius: Sociological Research for
                                                                                                                                                                                                         a Dynamic World
                                                                                                                                                                                                         Volume 6: 1­–12
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                                                                           Resources, and LGBTQ Student Groups                                                                                           sagepub.com/journals-permissions
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                                                                           at U.S. Colleges and Universities
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                                                                                                     Abstract
                                                                                                     Research shows that lesbian, gay, bisexual, transgender, and queer (LGBTQ) student groups facilitate LGBTQ students’
                                                                                                     personal development. Nevertheless, we know little about the prevalence of LGBTQ student groups and why some
                                                                                                     colleges and universities are home to LGBTQ student groups while others are not. Drawing on our original database
                                                                                                     of officially recognized LGBTQ student groups across all four-year, not-for-profit U.S. colleges and universities, we
                                                                                                     first show that LGBTQ student groups can be found at 62 percent of U.S. colleges and universities. Guided by social
                                                                                                     movement theory, and employing logistic regression analyses, we then show that LGBTQ groups are more likely
                                                                                                     to be present in favorable political contexts (Democratic-leaning states), favorable educational sectors (public and
                                                                                                     secular schools), and schools that have the human and organizational resources necessary to support them. The study
                                                                                                     advances scholarship on LGBTQ issues in higher education and holds important practical implications for students
                                                                                                     working to promote LGBTQ inclusion in U.S. schools.

                                                                                                     Keywords
                                                                                                     LGBTQ, higher education, student activism, social movements


                                                                           Introduction                                                                             A growing body of research has demonstrated the role
                                                                                                                                                                 that LGBTQ groups play in addressing problems faced by
                                                                           Lesbian, gay, bisexual, transgender, and queer (LGBTQ) peo-                           LGBTQ students. For example, research shows that students
                                                                           ple have made substantial legal progress in the United States.                        who join LGBTQ groups are less likely to experience depres-
                                                                           Just two decades ago, no states recognized same-sex marriage,                         sion (Kulick et al. 2017; Woodford, Kulick, et al. 2018) and
                                                                           most states allowed people to be fired on the basis of their                          more likely to develop positive personal relationships (Fetner
                                                                           sexual orientation and/or gender identity, and more than a                            and Elafros 2015).1 LGBTQ student groups also play an
                                                                           dozen states criminalized sexual intercourse between two con-                         important role in improving the campus climate for all
                                                                           senting same-sex adults (Movement Advancement Project                                 LGBTQ students, whether they participate in such groups or
                                                                           2020). Today, as a result of Supreme Court rulings, same-sex                          not (Hughes 2020; Marx and Kettrey 2016), and they inspire
                                                                           marriages are recognized by every state, employment discrim-                          many students to engage in activism both within and outside
                                                                           ination on the basis of sexual orientation and gender identity is
                                                                           prohibited, and so-called anti-sodomy laws have been struck
                                                                                                                                                                 1
                                                                           down (Movement Advancement Project 2020).                                              Kulick et al. (2017) show that the effects of campus engagement
                                                                               Despite these rapid gains, LGBTQ people in the United                             on mental health are contingent on race: “For White LGBTQ stu-
                                                                           States still face significant challenges. On U.S. college and                         dents, engagement in student leadership appears to weaken the het-
                                                                                                                                                                 erosexism-depression link . . . [but for] LGBTQ students of color,
                                                                           university campuses, for example, LGBTQ students face
                                                                                                                                                                 engaging in LGBTQ-specific spaces can strengthen the association
                                                                           problems ranging from formal discrimination (Coley 2018b)                             between sexual orientation victimization and depression” (p. 1125).
                                                                           to microaggressions, bullying, and harassment (Chica 2019;
                                                                           Craig et al. 2017; Hughes 2019). These problems, in turn,                             1
                                                                                                                                                                  Oklahoma State University, Stillwater, OK, USA
                                                                           contribute to higher rates of depression and suicidal ideation
                                                                                                                                                                 Corresponding Author:
                                                                           among LGBTQ college students (Craig et al. 2017; Wolff
                                                                                                                                                                 Jonathan S. Coley, Assistant Professor, Department of Sociology,
                                                                           et al. 2016; Woodford, Kulick, and Atteberry 2015; Woodford,                          Oklahoma State University, 431 Social Sciences & Humanities, Stillwater,
                                                                           Weber, et al. 2018).                                                                  OK 74078, USA.
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the confines of their schools (Coley 2018a; Renn 2007; Renn          and universities, we contribute practical insights into the
and Bilodeau 2005; Schmitz and Tyler 2018).                          environments most conducive to LGBTQ student groups. We
   Yet despite the demonstrated value of LGBTQ student               elaborate on these findings and their implications later in the
groups, we currently know little about the prevalence of             article, but first we describe our theoretical approach and out-
LGBTQ student groups and the types of school where                   line our methods of data collection and our analytic strategy.
LGBTQ student groups are most likely to be found. To date,
only a few quantitative studies have systematically examined         Theorizing the Presence of LGBTQ
the presence of LGBTQ student groups or student centers at
U.S. colleges and universities, and these studies are limited
                                                                     Student Groups at U.S. Colleges and
in their focus either by geographic scope—for example,               Universities
Kane (2013) examines the establishment of LGBTQ student              To explain the presence of LGBTQ student groups at U.S.
groups in a single state, North Carolina—or by educational           colleges and universities, we follow other scholars of
sector—Coley (2017, 2020) examines LGBTQ student                     LGBTQ student groups by drawing on theories from the sub-
group formation at Christian colleges and universities. We           field of social movement studies (Fetner and Kush 2008;
simply lack an understanding of why some U.S. colleges and           Fine 2012; Kane 2013; McEntarfer 2011). Why social move-
universities, beyond single states or particular educational         ment theory? Although early social movement theorists
sectors, might be home to LGBTQ student groups while                 focused on activist groups that deployed direct action tactics
other schools still lack them.                                       in pursuit of governmental policy changes (e.g., McAdam
   To both quantify and explain the presence of LGBTQ stu-           1982), recent scholarship has sought to broaden scholars’
dent groups on college and university campuses, we con-              understanding of the types of activities and goals that might
structed an original, comprehensive data set of officially           be associated with activist groups. For example, in his study
recognized LGBTQ student groups across all 1,953 four-               of LGBTQ student groups at Christian colleges and universi-
year, not-for-profit colleges and universities in the United         ties, Coley (2018a) identifies three ideal-typical forms of
States. Building on political opportunity and educational            LGBTQ student groups. First, direct action groups deploy
opportunity theories of social movement mobilization, we             extra-institutional protest tactics (such as rallies, sit-ins, and
assess the possibility that LGBTQ groups are more likely to          marches) in pursuit of policy changes at their schools (e.g.,
be present in favorable political contexts (e.g., in blue states)    changes in nondiscrimination policies). Second, educational
and in favorable educational contexts (e.g., in public and           groups employ more institutionalized, conciliatory educa-
secular schools). Additionally, building on resource mobili-         tional tactics (such as lectures, movie showings, and Safe
zation theory, we consider whether LGBTQ groups are more             Zone trainings) in attempts to transform campus cultures
likely to be present at schools that have the human and orga-        (e.g., to reduce bullying and increase acceptance of LGBTQ
nizational resources necessary to form and/or sustain them           people on campus). Finally, solidarity (or affinity) groups
(e.g., at schools with larger numbers of students, a higher          simply work to construct a safe space on campus for LGBTQ
percentage of women students, and Democratic student orga-           students to meet each other and support each other’s personal
nizations). We find strong support for the association between       growth. Although the methods and goals of these LGBTQ
political opportunities, educational opportunities, school           groups differ, they all seek to facilitate some type of change
resources, and the presence of LGBTQ student groups.                 on their campuses and thus can be conceptualized as activist
   The study makes several contributions. First, we contrib-         groups. In this section, we draw insights from several theo-
ute the only study to date of LGBTQ groups across all four-          ries in social movement studies to suggest ways that political
year, not-for-profit U.S. colleges and universities, showing         opportunities, educational opportunities, human resources,
that LGBTQ groups can currently be found at the majority             and organizational resources might facilitate the presence of
(62 percent) of such colleges and universities nationwide.2          LGBTQ groups at U.S. colleges and universities.
Second, we build on other studies that have linked political
opportunities and school resources to the presence of LGBTQ
student groups (Fetner and Kush 2008; Fine 2012; Kane                Political Opportunities
2013; McEntarfer 2011) but advance the literature by also            In social movement studies, political opportunity theories
assessing the association between educational opportunities          were borne out of an awareness that the political context can
and the presence of LGBTQ student groups. Finally, through           either enable or constrain social movement mobilization
our analysis of the opportunities and resources associated           (McAdam 1982). When politicians signal that they are favor-
with the presence of LGBTQ student groups at U.S. colleges           able to a given cause, activist groups that seek to advance that
                                                                     cause are more likely to emerge, grow, survive, and succeed
2
 A popular web resource, CampusPrideIndex.org, provides infor-       (McAdam 1982). This is because favorable political opportu-
mation about LGBTQ groups and LGBTQ rights initiatives on            nities can shape people’s sense of “what is possible” (Johnston
more than 300 of the 1,953 four-year, not-for-profit U.S. colleges   2011:28), inspiring even highly marginalized groups to form
and universities.                                                    organizations and/or continue mobilizing for change.


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    A key indicator of a favorable political environment for           backgrounds and viewpoints (p. 180). Private colleges and
LGBTQ people is a state’s support for Democratic presiden-             universities, by contrast, have more latitude to restrict differ-
tial candidates. In the most recent presidential election, for         ent groups’ abilities to operate on campus. Although little
example, Democratic presidential candidate Hillary Clinton             past research explicitly assesses whether schools’ public or
issued statements of support for same-sex marriage, federal            private statuses affect the ability of students to form or main-
nondiscrimination laws inclusive of sexual orientation and             tain LGBTQ student groups, Fine (2012) has shown that
gender identity, and policies ensuring that transgender stu-           public schools are more likely to be home to LGBTQ student
dents have equal access to schools. In contrast, Republican            centers. Thus, we expect public schools will be more condu-
presidential candidate Donald Trump issued fairly ambivalent           cive to LGBTQ student groups:
statements about the rights of LGBTQ people, and once in
office, Trump quickly moved to roll back LGBTQ-inclusive                  Hypothesis 2. Public colleges and universities are more
policies (Zezima and Callahan 2016). Indeed, in one of his                  likely to have LGBTQ student groups than are private
first acts in office, the Trump administration announced that it            colleges and universities.
no longer considered Title IX of the Educational Amendments
of 1972 to protect students on the basis of gender identity or             In his work on educational opportunity structures, Coley
gender expression and thus made it clear that it would not             (2021) argues that religious schools (all of which are private)
investigate colleges and universities that denied transgender          offer even fewer opportunities for the formation of campus
students equal access to bathrooms, locker rooms, and resi-            groups than do secular schools (which can be public or pri-
dence halls (Kreighbaum 2017). Trump’s supporters, more-               vate) because religious schools possess the ability to discrimi-
over, were less supportive of LGBTQ rights such as same-sex            nate on the basis of characteristics that might normally be
marriage and antidiscrimination policies than were Clinton’s           protected by state and/or federal laws, including sexual orien-
supporters (Kaufman and Compton 2020).                                 tation and gender identity. Indeed, analyzing data collected in
    A state’s support for Democratic presidential candidates,          2013, Coley (2017) shows that a minority (45 percent) of
then, may send a signal to LGBTQ students in that state that           Christian colleges and universities are home to LGBTQ stu-
they live in a relatively liberal, accepting environment and           dent groups. Additionally, 31 percent of Christian colleges
thus that an LGBTQ student group could emerge or continue              and universities go so far as to ban so-called homosexual acts
to thrive at their school. Past studies have indeed uncovered          or homosexual behavior in their student handbooks (Coley
an association between a state’s support for Democratic pres-          2018b). Comparing secular schools to religious schools in
idential candidates and the presence of LGBTQ student                  North Carolina, Kane (2013) finds that religious schools are
groups (Coley 2017, 2020) or LGBTQ student centers (Fine               less likely than secular schools to be home to LGBTQ student
2012).3 We assess a similar possibility here, employing a              groups. Based on this past theorizing of educational opportu-
state’s support for Hillary Clinton in 2016 as a proxy for a           nity structures, along with past empirical research on LGBTQ
state’s Democratic leanings:                                           student groups, we thus expect that the secular colleges and
                                                                       universities in our study will be more conducive environ-
    Hypothesis 1. Colleges and universities located in states          ments for LGBTQ student groups:
      that cast more (in percentages) votes for the Democratic
      presidential candidate in 2016 are more likely to have              Hypothesis 3. Secular colleges and universities are more
      LGBTQ student groups.                                                 likely to have LGBTQ student groups than are reli-
                                                                            gious colleges and universities.
Educational Opportunities
                                                                       Human Resources
Extending the insights of political opportunity theorists,
social movement scholars have recently identified character-           Resource mobilization theories in social movement studies
istics of educational opportunity structures that might enable         suggest that activist groups are more likely to exist when
or constrain campus activism (Coley 2021; Reger 2018).                 marginalized groups have access to resources (Edwards and
Coley (2021), for example, argues that public colleges and             McCarthy 2004; McCarthy and Zald 1977). Even in con-
universities offer more opportunities for the formation of             texts rich with opportunities, if marginalized groups are
campus groups than private colleges and universities because           unable to either generate new resources or appropriate exist-
public schools are “by definition less exclusive spaces than           ing resources to support their mobilization efforts, LGBTQ
private schools” and are required by federal courts to allow           groups are unlikely to form or survive. We consider the role
students to form organizations that represent diverse                  that human resources and organizational resources might
                                                                       play in the establishment and continuation of LGBTQ stu-
3
 In contrast to LGBTQ student groups, LGBTQ student centers are        dent groups at U.S. colleges and universities.
run by paid staff and thus receive a higher level of investment from      First, LGBTQ groups are unlikely to exist at schools lack-
their respective colleges and universities (Fine 2012).                ing in “human resources”—that is, leaders, members, and


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allies (Edwards and McCarthy 2004:127–28). Without peo-          LGBTQ rights and who might be willing to lend their exper-
ple who would be willing to lead and participate in a group,     tise in structuring organizations or navigating their schools’
LGBTQ student groups would not be able to exist. Past            bureaucracies. Although past quantitative studies of LGBTQ
scholarship on LGBTQ groups thus first suggests that             groups do not consider the association between the presence
schools with larger numbers of students are more likely to       of Democratic student organizations and the presence of
have LGBTQ student groups. Although we lack data on the          LGBTQ student organizations in schools, quantitative stud-
number of LGBTQ students at each college and university, it      ies do show that college students who identify as Democrats
is likely that as the size of a student body grows, the number   are more likely to be supportive of the LGBTQ community
of LGBTQ students at a school and straight allies at a school    in general (Holland et al. 2013). Also, qualitative research
will grow (Coley 2017, 2020; Fetner and Kush 2008; Fine          provides evidence that Democratic student organizations
2012):                                                           have supported LGBTQ organizations’ efforts to exist on
                                                                 college and university campuses (Coley 2018a:16, 119). We
    Hypothesis 4. Colleges and universities with larger stu-     thus assess this final hypothesis:
      dent bodies are more likely to have LGBTQ student
      groups.                                                        Hypothesis 6. Colleges and universities that are home to
                                                                       Democratic student organizations are more likely to
    Schools with more women students may be more likely                have LGBTQ student groups.
to have LGBTQ student groups. One reason is that women
in the United States are marginally more likely to personally
identify as LGBTQ than are men (Gates 2017). Second,
                                                                 Data and Methods
many straight, cisgender women who do not identify as            To quantify and explain the presence of LGBTQ student
LGBTQ may nevertheless join LGBTQ student groups as a            groups, we constructed an original, comprehensive database
way to show their support for the LGBTQ community.               of LGBTQ college and university student groups. We began
Indeed, a common stereotype of LGBTQ groups in high              by obtaining a list of all four-year, not-for-profit U.S. col-
schools is that they draw gay men and their straight women       leges and universities from the U.S. Department of Education
friends (Miceli 2005; Pascoe 2012:chap. 5). Although this        (http://nces.ed.gov/ipeds). The initial list contained 2,026
may be less true of LGBTQ groups at colleges and universi-       schools; however, after visiting the website of each school,
ties, straight, cisgender women are simply more likely to        we removed 73 from the list that had shut down, were online
identify as allies of the LGBTQ community than are straight,     only (prior to COVID-19), or had been misclassified (e.g.,
cisgender men (Moon 1995; Worthen 2012) and thus might           some were actually community colleges). Thus, our final list
contribute to a welcoming campus climate that fosters            contains 1,953 colleges and universities across the 50 U.S.
LGBTQ student mobilization.4 We assess this possibility in       states. We constructed the database in December 2019 and
our fifth hypothesis:                                            January 2020.

    Hypothesis 5. Colleges and universities with higher per-
                                                                 Dependent Variable
      centages of women students are more likely to have
      LGBTQ student groups.                                      To construct our dependent variable—a simple measure of
                                                                 whether a school has an LGBTQ student group—we first
                                                                 visited the student organization websites of each college and
Organizational Resources
                                                                 university contained in our database. Specifically, we located
Finally, beyond “human resources,” LGBTQ student groups          either a static web page that listed all student organizations at
may benefit from access to “organizational resources”            a school or a searchable database containing separate web
(Edwards and McCarthy 2004:127); specifically, LGBTQ             pages for each student organizations at a school, and we
student groups may be more likely to form and/or sustain         searched for LGBTQ student groups using the keywords
themselves when they can appropriate the resources of other      “LGBT,” “LGBTQ,” “gay,” “lesbian,” “queer,” “GSA [Gay-
existing organizations on a campus. Democratic student           Straight Alliance],” “Equality,” “Spectrum,” “Prism,” and
organizations represent an organization possessing resources     “Alliance.” If none of these keywords led us to relevant
that would be of great value to LGBTQ student groups.            LGBTQ student organizations listed on these official student
First, they comprise members who would likely be support-        organization pages, we then conducted Google searches
ive of LGBTQ rights and who might be interested in joining       using the name of each specific college or university along
or supporting an LGBTQ student group (Holland, Matthews,         with the keyword “LGBTQ.”5 If either of these methods led
and Schott 2013; Kaufman and Compton 2020). Second,              us to evidence that a school had an officially recognized
they possess leaders who also are likely to be supportive of
                                                                 5
                                                                  Google’s search algorithm is constructed in such a way that the
4
 Worthen (2012) finds, however, that women may be more preju-    search term “LGBTQ” also generates links to pages that use similar
diced toward lesbians in particular as compared to men.          terms like “LGBT,” “gay,” and “sexuality.”


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LGBTQ student group as of the 2019–2020 school year, we              expansion of LGBTQ rights than have non-Southern states.7
recorded a “1”; otherwise, we recorded a “0.”6                       Fetner and Kush (2008) indeed find that high schools outside
                                                                     rural areas and outside the South are more likely to be home
                                                                     to LGBTQ student groups. Thus, using data from the U.S.
Independent Variables                                                Department of Education (IPEDS 2018), we include vari-
For our key measure of political opportunities—state support         ables indicating whether a school is located in a nonrural
for the Democratic Party—we constructed a variable for the           area and outside the South.
percentage of votes cast for the Democratic presidential can-
didate in 2016, Hillary Clinton, for each state (US Election
                                                                     Analytic Strategy
Atlas 2020). To construct our measures of educational
opportunities, we drew on data from the U.S. Department              Our analysis proceeds in two stages. First, we present
of Education (Integrated Postsecondary Educational Data              descriptive analyses demonstrating the prevalence of
System [IPEDS] 2018) to construct dummy variables indi-              LGBTQ student groups at U.S. colleges and universities.
cating whether schools are “public” (rather than private)            Then, we provide results from binary logistic regression
and “secular” (rather than religious). Similarly, to construct       analyses, regressing our variable that indicates the presence
measures of schools’ human resources, we drew on U.S.                of an LGBTQ student group at a college or university on
Department of Education data (IPEDS 2018) to construct               the political opportunity, educational opportunity, resource
variables for the number of students at a school and the per-        mobilization, and control variables of interest. We provide
centage of women students at a school. We log the number             results from binary logistic regression analyses because of
of students variable because this variable is highly right           our dichotomous dependent variable, and we employ clus-
skewed. Finally, for our measure of a relevant organiza-             ter-robust standard errors to account for clustering by state.
tional resource, we constructed a variable indicating whether        We indicate whether variables are statistically significant in
a school was home to a Democratic student organization.              our regression tables; however, because we are describing
Specifically, we again visited the student organization web          the characteristics of the population of four-year, not-for-
pages of the schools contained in our database and searched          profit U.S. colleges and universities, we focus on describ-
for a Democratic student organization using the keywords             ing the substantive effects of our independent variables of
“Democrat(s)” and “Democratic.” If these keywords did not            interest when reporting our results below.
lead us to official documentation that these schools had
Democratic student organizations, we then conducted subse-
quent Google searches using the name of each school along
                                                                     Results
with the keyword “Democrats.” When we uncovered evi-                 Descriptive Findings
dence that a school had a Democratic student organization as
of the 2019–2020 school year using either method, we                 We begin by providing descriptive statistics. Table 1 pro-
recorded a “1” for that variable; otherwise, we recorded a “0.”      vides basic definitions of our variables and their associated
                                                                     means, standard deviations, and numerical ranges. As the
                                                                     table indicates, approximately 62 percent of U.S. colleges
Control Variables                                                    and universities are home to LGBTQ student groups, provid-
Our focus is on assessing political opportunity, educational         ing evidence that LGBTQ students have made inroads at the
opportunity, and resource mobilization approaches to                 majority of U.S. colleges and universities.
LGBTQ student group presence. However, Fetner and Kush                  Figure 1 provides a map of the United States wherein
(2008) have linked two other variables—schools’ presence             states in the darkest shade of blue have the highest propor-
in rural versus nonrural areas and in Southern versus non-           tions of colleges and universities that are home to LGBTQ
Southern states—to the presence of LGBTQ student groups              student groups and states in the lightest shade of blue have
in a slightly different context (U.S. high schools), with the        the lowest proportions of schools that are home to LGBTQ
logic that rural areas have traditionally been less hospitable       student groups. The 10 states with the highest proportions of
to LGBTQ people than more urban areas and states in the              colleges and universities with LGBTQ student groups—
South have historically been much more resistant to the              Colorado, Connecticut, Maine, Massachusetts, Nevada, New
                                                                     Hampshire, Pennsylvania, Rhode Island, Washington, and
6
                                                                     Wyoming—nearly all voted for the Democratic presidential
 We recorded a school as having an LGBTQ student group no mat-
ter if that LGBTQ student group was tailored to all people in the
                                                                     7
student body or if that LGBTQ student group was tailored toward       For example, most Southern states resisted legalizing same-sex
a specific group of students (e.g., LGBTQ people of color, LGBTQ     marriage and resisted banning employers from discriminating on
law students, LGBTQ medical students). In practice, though, nearly   the basis of sexual orientation and/or gender identity until the U.S.
all colleges and universities that had more specialized LGBTQ stu-   Supreme Court ordered them to do so (Movement Advancement
dent groups also had more general LGBTQ student groups.              Project 2020).



    EXHIBIT H                                                                                                                    5
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Table 1. Descriptive Statistics.

                                                                                                                Standard
Variable                                              Description                                    Mean       Deviation      Minimum       Maximum
LGBTQ student             Presence of at least one officially recognized LGBTQ student                  0.62         0.49          0             1
 group                     group
Percentage Clinton        Percentage vote for Hillary Clinton during the 2016                         47.29          9.35        21.88          62.22
 vote                      presidential election for the state in which a school is
                           located
Public school             Whether a college or university is public (not private)                       0.34         0.47          0             1
Secular school            Whether a college or university is secular rather than                        0.60         0.49          0             1
                           religious (either Christian or Jewish)
Number of students        Number of students at a college or university                            6,071.51      9,530.95          7           90,955
Number of students        Number of students at a college or university (in logarithmic                7.71          1.58          1.95         11.42
 (log)                     form)
Percentage women          Percentage of women students at a college or university                     55.48         17.47          0             1
 students
Democratic student        Presence of an officially recognized Democratic student group                 0.40         0.49          0             1
 organization
Non-South                 Presence of a school outside the Southern United States                       0.67         0.47          0             1
Nonrural                  Presence of a school outside a rural area                                     0.74         0.44          0             1

Note: N = 1,953. Descriptive statistics for number of students are reported in both prelogarithmic and logarithmic form. LGBTQ = lesbian, gay, bisexual,
transgender, and queer.


candidate in 2016, with the only exceptions being                              Clinton in 2016 (e0.017 = 1.02 odds ratio). Additionally, pub-
Pennsylvania (which had voted for Democratic presidential                      lic and secular schools tend to be friendlier environments for
candidates for several cycles prior to 2016) and Wyoming                       LGBTQ student groups. Holding the other variables in the
(which is the only state that has only one four-year college                   model constant, the odds of having an LGBTQ group are 321
or university, the University of Wyoming). All of these                        percent higher for public schools as compared to private
states are outside the South. By comparison, the 10 states                     schools (4.21 odds ratio), although this effect weakens once
with the lowest proportions of colleges and universities with                  the variable for student body size is included in later models,
LGBTQ student groups—Alabama, Alaska, Delaware,                                and the odds of having an LGBTQ group are 118 percent
Hawaii, Idaho, Louisiana, Mississippi, Montana, Oklahoma,                      greater for secular schools as compared to religious schools
and Tennessee—mostly gave their electoral votes to the                         (2.18 odds ratio). Note that the Nagelkerke indicator of
Republican presidential candidate (Donald Trump) in 2016.                      model fit is approximately 0.22.
The only exceptions are Delaware and Hawaii, which are                             Model 2 of Table 2 shows that schools are more likely to
surprisingly the two states with the lowest proportions of                     have LGBTQ student groups as the student body size
colleges and universities that contain LGBTQ student                           increases (2.35 odds ratio) and the percentage of women stu-
groups; only 40 percent of colleges and universities in                        dents increases (1.01 odds ratio). Schools with Democratic
Delaware and only 22 percent of colleges and universities in                   student organizations also are more likely to have LGBTQ
Hawaii have LGBTQ student groups.                                              student groups, and the substantive effect of this variable is
                                                                               particularly notable, as the odds of a school’s having an
Logistic Regression Analyses                                                   LGBTQ group are 247 percent greater for schools with
                                                                               Democratic student organizations as compared to schools
Table 2 provides results from binary logistic regression anal-                 without Democratic student organizations (3.47 odds ratio).
yses. Model 1 includes the political and educational opportu-                  Note also that the Nagelkerke indicator of model fit increases
nity variables, model 2 includes the human and organizational                  from 0.22 (in model 1) to 0.45 (in model 2), indicating that
resource variables, model 3 includes all independent vari-                     resource variables explain a larger proportion of the variance
ables, and model 4 includes all independent variables along                    in LGBTQ student groups across U.S. colleges and
with the two control variables. As model 1 in Table 2 indi-                    universities.
cates, schools in states that cast a higher share of votes for the                 The patterns identified in models 1 and 2 continue to hold
2016 Democratic presidential candidate (Hillary Clinton)                       in model 3, which includes all variables from models 1 and
tend to be more hospitable environments for LGBTQ student                      2, and in model 4, which adds control variables. The overall
groups. Controlling for other variables, the odds of a school’s                portrait of LGBTQ-inclusive schools provided in model 4
having an LGBTQ student group are approximately 2 per-                         suggests that LGBTQ student groups are more likely to be
cent higher for every 1 percent increase in a state’s vote for                 found in Democratic-leaning states (1.02 odds ratio), public


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Figure 1. Proportion of schools with lesbian, gay, bisexual, transgender, and queer groups, by state.


schools (1.52 odds ratio), secular schools (1.92 odds ratio),          (0.51) than for schools with all women (0.70); and the pre-
schools with large student bodies (2.12 odds ratio), schools           dicted probability of schools without Democratic student
with larger percentages of women students (1.01 odds ratio),           organizations having LGBTQ student groups is lower (0.52)
schools that are home to Democratic student organizations              than for schools with Democratic student organizations
(4.30 odds ratio), and schools that are located outside the            (0.75).
South (2.09 odds ratio). The Nagelkerke measure of model
fit is approximately 0.5 in model 4, indicating that these vari-
                                                                       Discussion
ables account for nearly half of the variance in LGBTQ stu-
dent groups across U.S. colleges and universities.                     Why are some schools home to LGBTQ student groups
    Figure 2 graphs the effects of our primary variables of            whereas others are not? The results confirm the expecta-
interest on the predicted probabilities of schools’ having             tions derived from political opportunity theory, educational
LGBTQ student groups and thus facilitates substantive inter-           opportunity theory, and resource mobilization theory. First,
pretations of our findings. In terms of the political opportu-         political opportunity theory suggests that when governmen-
nity variable, with all of the other variables in model 4 held         tal leaders express support for a given cause, they inspire
at their mean, we find that the predicted probability of               organizations that rally around that cause and agitate for
schools’ having LGBTQ groups in the most Republican-                   further change (Johnston 2011; McAdam 1982). We do find
leaning states is lower (as low as 0.54) than in the most              that blue states—in this case, states that cast a higher share
Democratic-leaning states (up to 0.66). In terms of the edu-           of votes for the 2016 Democratic presidential candidate,
cational opportunity variables, the probability of private             Hillary Clinton, who expressed public support for LGBTQ
schools’ having an LGBTQ student group is lower (0.60)                 rights—are more often home to schools with LGBTQ
than for public schools (0.65), while the probability of reli-         student organizations.8 These results align with prior stud-
gious schools’ having an LGBTQ student group is lower                  ies that similarly show that state support for previous
(0.55) than for secular schools (0.66). Finally, in terms of the
human and organizational resource variables, we find that              8
                                                                        In additional analyses (not shown here), we examined whether
the predicted probability of schools’ having LGBTQ groups              the presence of a Democratic governor and the presence of a
ranges from less than 0.2 for the smallest schools (with 50 or         school nondiscrimination law were associated with the presence
fewer students) to greater than 0.8 for the largest schools            of LGBTQ student groups. However, we found that these vari-
(with more than 20,000 students); the predicted probability            ables were weakly associated with the presence of LGBTQ student
of schools with all men having LGBTQ groups is lower                   groups at U.S. colleges and universities.



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Table 2. Logistic Regression Models for Lesbian, Gay, Bisexual, Transgender, and Queer Student Groups.

                                            Model 1                          Model 2                          Model 3                       Model 4
                                                b                                b                                b                             b
                                                se                              se                               se                            se
Political context
Percentage Clinton                            0.018*                                                           0.029***                      0.017*
 vote                                         0.009                                                            0.008                         0.008
Educational context
Public                                        1.437***                                                         0.408*                        0.417*
                                              0.203                                                            0.193                         0.213
Secular                                       0.780***                                                         0.686***                      0.653***
                                              0.231                                                            0.159                         0.164
Human resources
Number of students                                                            0.856***                         0.726***                      0.753***
 (log)                                                                        0.059                            0.064                         0.068
Percentage women                                                              0.010**                          0.011***                      0.011***
 students                                                                     0.003                            0.003                         0.003
Organizational resources
Democratic student                                                            1.243***                         1.425***                      1.460***
 organization                                                                 0.172                            0.165                         0.173
Control variables
Non-South                                                                                                                                    0.737***
                                                                                                                                             0.201
Nonrural                                                                                                                                    −0.129
                                                                                                                                             0.171
Constant                                    −1.201**                        −6.935***                         −7.901***                     −7.992***
                                             0.381                           0.444                             0.547                         0.532
Chi-square                                 343.55***                       792.27***                         871.62***                     900.51***
Nagelkerke                                   0.219                           0.453                             0.489                         0.502

Note: N = 1,953. Values are unstandardized coefficients with standard errors clustered by state.
*p < .05. **p < .01. ***p < .001 (two-tailed tests).




Figure 2. Predicted probabilities of schools’ having lesbian, gay, bisexual, transgender, and queer groups, by percentage Clinton
vote, public versus private status, secular versus religious status, number of students, percentage women students, and Democratic
organization presence.
Note: For the percentage Clinton vote, number of students (log), and percentage women students variables, confidence intervals are indicated through
shading; for the public school, secular school, and Democratic student organization variables, confidence intervals are indicated through whiskers.



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Table 3. Summary of the Evaluation of Hypotheses.

Hypotheses                                                                                Supported                   Not Supported
Political opportunity hypothesis
Hypothesis 1. Colleges and universities located in states that cast more                      X
 (in percentages) votes for the Democratic presidential candidate in
 2016 are more likely to have LGBTQ student groups.
Educational opportunity hypotheses
Hypothesis 2. Public colleges and universities are more likely to have                        X
 LGBTQ student groups than are private colleges and universities.
Hypothesis 3. Secular colleges and universities are more likely to have                       X
 LGBTQ student groups than are religious colleges and universities.
Resource mobilization hypotheses
Hypothesis 4. Colleges and universities with larger student bodies are                        X
 more likely to have LGBTQ student groups.
Hypothesis 5. Colleges and universities with higher percentages of                            X
 women students are more likely to have LGBTQ student groups.
Hypothesis 6. Colleges and universities that are home to Democratic                           X
 student organizations are more likely to have LGBTQ student groups.

Note: LGBTQ = lesbian, gay, bisexual, transgender, and queer.


Democratic presidential candidates like Barack Obama (in               colleges and universities, although this seems to be because
2012) and John Kerry (in 2004) was associated with the                 most Jewish colleges and universities are quite small, dedi-
presence of LGBTQ student groups or LGBTQ student                      cated to rabbinical training, and thus not home to many stu-
centers in those states (Coley 2017; Fine 2012). We thus               dent organizations of any type. Christian colleges and
find support for hypothesis 1 (see Table 3).                           universities that tend to be home to LGBTQ student groups
    Educational opportunity theory suggests that certain char-         are associated with the Roman Catholic Church or Mainline
acteristics of schools, such as their public versus private sta-       Protestant denominations (such as the Disciples of Christ,
tus or secular versus religious status, shape students’ ability        Episcopal Church, Evangelical Lutheran Church in America,
to form campus activist groups (Coley 2021). We expected               Presbyterian Church USA, United Church of Christ, and
that LGBTQ groups would be more likely to exist at public              United Methodist Church). Christian colleges and universi-
colleges and universities, given that public schools must              ties that tend to lack LGBTQ student groups are associated
allow students to form LGBTQ student groups so long as                 with historically white Evangelical Protestant denominations
they allow other student groups to form on campus. We did              (such as the Assemblies of God, Churches of Christ, Nazarene
find support for this expectation (hypothesis 2), although the         Church, and Southern Baptist Convention) or are nondenom-
difference in the predicted probability of public schools ver-         inational. Christian colleges and universities associated with
sus private schools having LGBTQ student groups (0.65 vs.              historically black Protestant denominations fall in the mid-
0.60) was not stark. Given Fine’s (2012) previous finding              dle, with about half of schools containing LGBTQ student
that the single greatest predictor of a school’s having an             groups.
LGBTQ student center is whether a school is public rather                  A final relevant theory, resource mobilization theory, sug-
than private, our results suggest that the factors most associ-        gests that activist organizations are more likely to emerge,
ated with LGBTQ student group presence may be slightly                 grow, survive, and/or succeed when they are able to mobilize
different than the factors most associated with LGBTQ stu-             human resources (e.g., leaders and rank-and-file partici-
dent center presence.                                                  pants) and appropriate organizational resources (Edwards
    We also expected that secular colleges and universities            and McCarthy 2004; McCarthy and Zald 1977). For one of
would be more likely to be home to LGBTQ groups since                  our measures of human resources, we assessed whether
religious colleges and universities have the ability to dis-           schools with larger numbers of students would be more
criminate against students on the basis of sexual orientation          likely to have LGBTQ student groups since these schools
and gender identity. Note that the population of religious col-        would likely have a larger overall number of LGBTQ stu-
leges and universities in the United States almost exclusively         dents and straight allies who might be willing to join LGBTQ
comprises Christian and Jewish schools. We again find                  student groups, and we found strong support for this expecta-
strong support for this expectation (hypothesis 3), in line            tion (hypothesis 4). We also assessed whether schools with a
with past literature (Kane 2013). In further examining our             higher share of women students would be more likely to
data, we find that Jewish colleges and universities are much           have LGBTQ student groups since women are slightly more
less likely to be home to LGBTQ groups than are Christian              likely to personally identify as LGBTQ, are significantly



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more likely to support LGBTQ rights, and are more willing                 that are associated with the presence of LGBTQ student
to join LGBTQ groups even as straight allies. We similarly                groups. Informed by political opportunity theories of social
found support for this expectation (hypothesis 5), and this               movements, we found first that political context matters:
finding contrasts with those of past studies that found the               Schools in blue states that cast a larger (percentage) share of
percentage of women at a school to be insignificantly or                  votes for Hillary Clinton, the 2016 Democratic presidential
weakly related to LGBTQ student center presence (Coley                    candidate, are more likely to be home to LGBTQ student
2017; Kane 2013). Additionally, for our measure of organi-                groups. Through an original application of educational
zational resources, we considered whether schools that are                opportunity theory (Coley 2021), we show also that educa-
home to Democratic student organizations might be more                    tional context matters, as public and secular schools are
likely to be home to LGBTQ student groups, since members                  much more likely to be home to LGBTQ student groups.
of such organizations may contain many supporters of                      Finally, guided by resource mobilization theories of social
LGBTQ rights who would be willing to join and/or lend their               movements, we show that school resources matter: Schools
support for LGBTQ groups. No other previous studies had                   with larger numbers of students, schools with larger percent-
directly assessed this possibility, but we did find strong sup-           ages of women students, and schools that are home to
port for hypothesis 6.9                                                   Democratic student organizations are also more likely to be
                                                                          home to LGBTQ student groups.
                                                                              Our article represents the most comprehensive study of
Conclusion                                                                LGBTQ student groups at U.S. colleges and universities and
A large and growing literature demonstrates the positive                  is the first study to identify correlates of officially recognized
impacts of LGBTQ student groups in schools. Studies show                  LGBTQ student groups across all four-year, not-for-profit
that LGBTQ student groups play a positive role in the lives               U.S. colleges and universities. However, it is important to
of students, as LGBTQ participants are more likely to                     note what these analyses do not show. First, because our
develop positive personal relationships and report better                 dependent variable indicates only whether a school has an
mental health than do nonparticipants (Fetner and Elafros                 officially recognized LGBTQ student group, our study does
2015; Kulick et al. 2017; Woodford, Kulick, et al. 2018).                 not identify all schools where LGBTQ students may cur-
Some evidence suggests LGBTQ student groups also make                     rently be mobilizing or all schools that offer programming
schools safer, including by decreasing incidences of bullying             related to LGBTQ issues. For example, at many conservative
and harassment against LGBTQ students in schools (Marx                    Christian colleges and universities, students have formed
and Kettrey 2016). Nevertheless, previous literature has been             unofficial or underground LGBTQ student groups that are
mostly silent on the question of why some colleges and uni-               not included in our data set (Coley 2018a). Also, some
versities are home to LGBTQ student groups whereas others                 schools may sponsor LGBTQ-related programs (such as
are not (though see Kane’s 2013 study on LGBTQ student                    Safe Zone programs) yet lack LGBTQ student groups. Future
groups at North Carolina colleges and universities and                    studies thus might undertake analyses of unofficially recog-
Coley’s 2017 study on LGBTQ student groups at U.S.                        nized LGBTQ student groups or officially sponsored LGBTQ
Christian colleges and universities).                                     programs.
   Through an analysis of our new, comprehensive database                     Additionally, because we rely on cross-sectional data, we
of LGBTQ student groups across the 1,953 four-year, not-                  cannot conclusively show that political opportunities and
for-profit colleges and universities in the United States, we             school resources cause the initial formation or establishment
have identified characteristics of colleges and universities              of LGBTQ groups. Rather, we show only that political
                                                                          opportunities and school resources are associated with the
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 In additional analyses (not shown here), to rule out the possibility     active presence of LGBTQ student groups (as of the 2019–
that the Democratic student organization variable serves as simply a      2020 school year). Although social movements theory
latent indicator of a school’s tendency to have a wide range of student   would suggest that the political and resource factors we
organizations, we considered whether schools with Republican stu-         identify should be linked to the initial formation of these
dent organizations are more likely to have LGBTQ student groups.          groups, it is still possible that just as many LGBTQ groups
Republican student organizations are generally more opposed to            have been established in less hospitable states and in less
LGBTQ rights (Binder and Wood 2013), so we would not expect               resource-rich schools yet quickly folded and are not present
this variable to be strongly associated with LGBTQ student group          in our data. Thus, future studies could further address ques-
presence unless this variable simply suggested that a wide range of
                                                                          tions of causality.
student interests were represented at a school. We found that the
                                                                              Our study should not be understood as having identified
predicted probability of a school’s having an LGBTQ student group
was only slightly higher (0.63) if a school had a Republican student      all possible ingredients for the successful establishment of
group compared to if a school lacked a Republican student group           LGBTQ groups on college and university campuses. For
(0.61). By contrast, the presence of a Democratic student organi-         example, although we link the presence of Democratic stu-
zation seems to be strongly and meaningfully associated with the          dent organizations to the presence of LGBTQ student organi-
presence of an LGBTQ student group.                                       zations, it is also possible that other types of student


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organizations (such as feminist student organizations or           providing helpful comments on earlier drafts of this manuscript.
organizations for students of color) facilitate the formation or   The authors also thank Jericho McElroy for providing research
active presence of LGBTQ student groups; future studies            assistance and Oklahoma State University’s College of Arts and
could explore this possibility. Relatedly, because our study is    Sciences for providing financial support for this project.
quantitative in nature, it likely emphasizes structural factors
(state characteristics, institutional characteristics) linked to   ORCID iD
the presence of LGBTQ groups in schools, likely at the
expense of agentic processes associated with the establish-        Jonathan S. Coley     https://orcid.org/0000-0002-0829-6171
ment of LGBTQ groups on college and university campuses.
Qualitative research shows that students must often take up        References
the work of “framing” LGBTQ groups as in line with the
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institutional missions of their colleges and universities, thus
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making the groups appealing to students and palatable to
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administrators (see, e.g., Coley 2018a: chap. 4; Hughes 2020;      Chica, Christina Marie. 2019. “Queer Integrative Marginalization:
McEntarfer 2011). Our study should be understood as com-               LGBTQ Student Integration Strategies at an Elite University.”
plementing, but not replacing, this important qualitative              Socius 5:1–13.
work about the establishment of LGBTQ groups at colleges           Coley, Jonathan S. 2017. “Reconciling Religion and LGBT Rights:
and universities.                                                      Christian Universities, Theological Orientations, and LGBT
   Finally, because we focus on only four-year, not-for-profit         Inclusion.” Social Currents 4(1):87–106.
U.S. colleges and universities, future studies should assess       Coley, Jonathan S. 2018a. Gay on God’s Campus: Mobilizing for
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with the presence of LGBTQ groups in other educational set-
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tings, including U.S. community colleges, high schools, and
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middle schools as well as schools outside the United States.       Coley, Jonathan S. 2020. “Have Christian Colleges and Universities
More work is necessary to know whether the characteristics             Become More Inclusive of LGBTQ Students Since Obergefell
that seem to explain the presence of LGBTQ groups at U.S.              v. Hodges?” Religions 11(9):article 461.
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Specifically, our study suggests that LGBTQ students look-             2017. “Fighting for Survival: The Experiences of Lesbian, Gay,
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out public, secular schools that are located in blue states and
                                                                       Services 29(1):1–24.
that have a large number of students, a relatively high per-       Edwards, Bob, and John D. McCarthy. 2004. “Resources and
centage of women students, and Democratic (and perhaps                 Social Movement Mobilization.” Pp. 116–52 in The Blackwell
other Left-leaning) student organizations. Conversely, our             Companion to Social Movements, edited by D. A. Snow, S. A.
study identifies types of environments that would present              Soule, and H. Kriesi. Malden, MA: Blackwell.
more challenges and barriers for students looking to join or       Fetner, Tina, and Athena Elafros. 2015. “The GSA Difference:
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and these schools are often private, religious schools that are        563–81.
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Renn, Kristen A. 2007. “LGBT Student Leaders and Queer                University and is currently pursuing a PhD in sociology at Oklahoma
    Activists: Identities of Lesbian, Gay, Bisexual, Transgender,     State University. Her research interests involve group processes,
    and Queer Identified College Student Leaders and Activists.”      identity politics, and social movements. Her master’s thesis focused
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